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                 EXHIBIT C
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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                  Reporting Period 10/01/2019 to 10/31/2019
(Balances Subject to Audit)

FUND ACCOUNTING                                                                                              12/26/2019
                                                                                  Detail       Subtotal      Grand Total
Line 1             Beginning Balance (As of 09/30/2019): (Schedule 1.1)       $27,791,169.32
                   Increases in Fund Balance:
Line 2             Business Income
Line 3             Cash and Securities                                           -$8,246.52
Line 4             Interest/Dividend Income                                      $13,839.45
Line 5             Business Asset Liquidation
Line 6             Personal Asset Liquidation
Line 7             Third-Party Litigation Income
Line 8             Miscellaneous-Other                                           $34,649.76
                   Total Fund Available (Lines 1-8):                                           $40,242.69   $27,831,412.01
                   Decreases in Fund Balance:
Line 9             Disbursements (Loans) to Investors                                 $0.00

Line 10       Disbursements for Receivership Operations
   Line 10a   Disbursements to Receiver or Other Professionals (Sched 10.1)
   Line 10b   Business Asset Expenses
   Line 10c   Personal Asset Expenses
   Line 10d   Investment Expenses                                                 -$2,322.80
   Line 10e   Third-Party Litigation Expenses
                  1. Attorney Fees
                  2. Litigation Expenses
                Total Third-Party Litigation Expenses
     Line 10f Tax Administrator Fees and Bonds
     Line 10g Federal and State Tax Payments
                Total Disbursements for Receivership Operations                                -$2,322.80
Line 11    Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a Distribution Plan Development Expenses:
              1. Fees:
                   Fund Administrator
                   Consultants
                   Legal Advisors
                  Tax Advisors
              2. Administrative Expenses
              3. Miscellaneous
             Total Plan Development Expenses
   Line 11b Distribution Plan Implementation Expenses:
              1. Fees:
                  Fund Administrator
             2. Administrative Expenses
             3. Investor Identification:
                  Notice/Publishing Approved Plan
                  Claims Processing
             4. Fund Administrator Bond
             5. Miscellaneous
            Total Plan Implementation Expenses
            Total Disbursement for Distribution Expenses Paid by the Fund
Line 12    Disbursements to Court/Other:
   Line 12a Investment Expenses/Court Registry Investment
           System (CRIS) Fees
   Line 12b Federal Tax Payments
            Total Disbursements to Court/Other:
            Total Funds Disbursed (Line 9-11):                                                                  -$2,322.80
Line 13    Ending Balance (As of 10/31/2019):                                                               $27,829,089.21
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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                  Reporting Period 10/01/2019 to 10/31/2019
(Balances Subject to Audit)


                                                                                  Detail       Subtotal     Grand Total
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a   Cash & Cash Investments                                                                       $6,832,431.59
   Line 14b   Investments                                                                                  $20,752,183.57
   Line 14c   Other Assets or Uncleared Funds                                                                $244,474.05
             Total Ending Balance of Fund - Net Assets                                                     $27,829,089.21

OTHER SUPPLEMENTAL INFORMATION:
                                                                                  Detail       Subtotal     Grand Total
                   Report of Items NOT to be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by Fund:
   Line 15a    Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator
                    Consultants
                    Legal Advisors
               2. Administrative Expenses
               3. Miscellaneous
             Total Plan Development Expenses Not Paid by the Fund
     Line 15b        Plan Implementation Expenses Not Paid by the Fund:
                       1. Fees:
                            Fund Administrator
                            Consultants
                            Legal Advisors
                       2. Administrative Expenses
                       3. Investor Indentification:
                           Notice/Publishing Approved Plan
                           Claims Processing
                      4. Fund Administrator Bond
                      5. Miscellaneous
                     Total Plan Implementation Expenses Not Paid by the Fund
    Line 15c         Tax Administrator Fees & Bonds Not Paid by the Fund
                     Total Disbursements for Plan Administration Not Paid by the Fund
Line 16     Disbursements to Court/Other Not Paid by the Fund:
   Line 16a    Investment Expenses/CRIS Fees
   Line 16b    Federal Tax Payments
             Total Disbursements to Court/Other Not Paid by the Fund:
Line 17            DC & State Tax Payments
Line 18     No. of Claims:
   Line 18a   # of Claims Received This Reporting Period                                                         0
   Line 18b   # of Claims Received Since Inception of (Receivership)                                             0
Line 19     No. of Claimants/Investors:
   Line 19a   # of Claimants/Investors Paid This Reporting Period                                                0
   Line 19b   # of Claimants/Investors Paid Since Inception (Receivership)                                       0
                                                                             Receiver:
                                                                             By: _____________________________
                                                                                    (signature)
                                                                                 ____________________________
                                                                                   (printed name)

                                                                             Date: ___________________________

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                                            SCHEDULE 1.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                       Reporting Period 10/01/2019 to 10/31/2019

                           DETAIL OF LINE 1, BEGINNING BALANCE

      Entity           Bank /Brokerage Name            Account Number        As of Date     Balance

Arjun, LP         TreasuryDirect-Treasuries          Arjun #H-448-199-007    09/30/19     $12,110,615.35
Arjun, LP         Treasury Direct-Accr Interest      Arjun #H-448-199-007    09/30/19         $17,133.74

Arjun, LP         Loans to Investors                              multiple   09/30/19      $9,298,058.65

Arjun, LP         BMO Harris (CD's)                           6900598944     09/30/19      $1,250,000.00
Arjun, LP         BMO Harris                                  4824436117     09/30/19            -$84.65
Arjun, LP         BMO Harris [1]                              4824436117     09/30/19         $12,690.55

Arjun, LP         Citizens Trust                               470078581     09/30/19      $1,580,667.25

Arjun, LP         First IC Bank                                      0981    09/30/19       $513,144.76
Arjun, LP         First IC Bank (CD's)                               1879    09/30/19       $100,000.00
Arjun, LP         First IC Bank (CD's)                               1882    09/30/19       $100,000.00

                                                                    Arjun, LP Subtotal    $24,982,225.65

Statim Holdings   Delta Community                  0880083132-Bus Savings    09/30/19              $5.00
Statim Holdings   Delta Community                     0880083132-5760731     09/30/19          $1,131.42
Statim Holdings   Delta Community                     0880083132-1789412     09/30/19            $100.00
Statim Holdings   Delta Community                 0880083132-Bus Mon Mkt     09/30/19      $1,021,628.36

Statim Holdings   Arjun Capital Acct                              186590     09/30/19      $1,606,078.89

Statim Holdings   Nija Meyer                        Loan to Nija Meyer       09/30/19       $180,000.00

                                                              Statim Holdings Subtotal     $2,808,943.67

                                                                  Arjun & Statim Total    $27,791,169.32
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                                                    SCHEDULE 3.1

              STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                              Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                     Reporting Period 10/01/2019 to 10/31/2019

                                        DETAIL OF LINE 3, CASH & SECURITIES

Date          Bank Name      Account Name Account No.    Ref.      Payor/Payee              Purpose                 Amount

Oct 2019 TreasuryDirect     Arjun, LP    H-448-199-007 Market Arjun, LP          Change in Market Value - Oct '19     -$8,246.52
10/15/19 TreasuryDirect     Arjun, LP    H-448-199-007 Withdrawal Arjun, LP      Maturity of Treasury             -$2,252,000.00
10/15/19 Citizens Trust     Arjun, LP       470078581 Deposit TreasuryDirect     Deposit of Matured Treasury       $2,252,000.00
                                                                                       Arjun, LP Subtotal             -$8,246.52
                                                                                                                           $0.00
                                                                                    Statim Holding Subtotal                $0.00

                                                                                      Arjun & Statim Total           -$8,246.52
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                                                     SCHEDULE 4.1

              STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                              Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                     Reporting Period 10/01/2019 to 10/31/2019

                                  DETAIL OF LINE 4, INTEREST/DIVIDEND INCOME

Date            Bank Name      Account Name Account No.    Ref.        Payor/Payee              Purpose            Amount

10/07/19   Citizens Bank      Arjun, LP       470078581   Deposit   RMG of VA Ave    Interest payment, #186605        $780.75
10/15/19   Citizens Bank      Arjun, LP       470078581   Deposit   TreasuryDirect   Interest - Matured Treasury   $11,260.00
10/28/19   First IC Bank      Arjun, LP            0981   Deposit   Arjun, LP        Interest                         $227.01
10/28/19   First IC Bank      Arjun, LP            0981   Deposit   Arjun, LP        Interest                         $234.99
10/31/19   First IC Bank      Arjun, LP            0981   Deposit   Arjun, LP        Interest                         $862.45
10/31/19   BMO Harris         Arjun, LP      4824436117   Deposit   BMO Harris       Return Fees forced check          $84.65
                                                                                            Arjun, LP Subtotal     $13,449.85

10/31/19 Delta Community      Statim Holdings 0880083132 Deposit Statim Holdings     Interest                        $389.60
                                                                                        Statim Holdings Subtotal

                                                                                         Arjun & Statim Total      $13,839.45
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                                                  SCHEDULE 8.1

            STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                            Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 10/01/2019 to 10/31/2019

                                    DETAIL OF LINE 8, MISCELLANEOUS-OTHER

Date          Bank Name      Account Name Account No.   Ref.       Payor/Payee               Purpose          Amount

10/31/19 TreasuryDirect     Arjun, LP   H-448-199-007   Interest Arjun, LP       Change in Accrued Interest   $34,649.76

                                                                                        Arjun, LP Subtotal    $34,649.76

                                                                                          Statim Subtotal          $0.00

                                                                                       Arjun & Statim Total   $34,649.76
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                                            SCHEDULE 9.1

       STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                       Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                              Reporting Period 10/01/2019 to 10/31/2019

                     DETAIL OF LINE 9, DISBURSEMENTS (LOANS) TO INVESTORS

Date    Bank Name      Account Name Account No.   Ref.     Payor/Payee         Purpose           Amount


                                                                         Statim Holdings Total      $0.00
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                                           SCHEDULE 10b.1

       STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                       Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                              Reporting Period 10/01/2019 to 10/31/2019

                  DETAIL OF LINE 10b, BUSINESS ASSET AND OPERATING EXPENSES

Date      Bank Name      Account Name Account No.   Ref.    Payor/Payee      Purpose        Amount




                                                                          Arjun, LP Total      $0.00
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                                                        SCHEDULE 10d.1

            STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                            Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 10/01/2019 to 10/31/2019

                                     DETAIL OF LINE 10d, INVESTMENT EXPENSES

Date          Bank Name        Account Name Account No.       Ref.       Payor/Payee              Purpose               Amount

Oct 2019 Arjun, LP             Arjun, LP      Multiple     Interest   Arjun, LP        Accrual-Investor loan interest   $12,077.88

Oct 2019 Arjun, LP             Arjun, LP      Multiple     Loan PmtsArjun, LP          Investor Loan Payments             -$780.75
                                                                                             Arjun, LP Subtotal         $11,297.13


Oct 2019 Statim Holdings       Statim Holdings 186590       Monthly Arjun, LP          Chg Statim Capital in Arjun, LP -$13,619.93
                                                                                         Statim Holdings Subtotal      -$13,619.93

                                                                                            Arjun & Statim Total        -$2,322.80
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                                           SCHEDULE 13.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                       Reporting Period 10/01/2019 to 10/31/2019

                               DETAIL OF LINE 13, ENDING BALANCE

      Entity           Bank /Brokerage Name            Account Number        As of Date     Balance

Arjun, LP         TreasuryDirect-Treasuries          Arjun #H-448-199-007    10/31/19      $9,850,368.83
Arjun, LP         Treasury Direct-Accr Interest      Arjun #H-448-199-007    10/31/19         $51,783.50

Arjun, LP         Loans to Investors                              multiple   10/31/19      $9,309,355.78

Arjun, LP          BMO Harris (CD)                            6900598944     10/31/19      $1,250,000.00
Arjun, LP          BMO Harris                                 4824436117     10/31/19              $0.00
Arjun, LP          BMO Harris [1]                             4824436117     10/31/19         $12,690.55

Arjun, LP         Citizens Trust                               470078581     10/31/19      $3,844,708.00

Arjun, LP         First IC Bank                                      0981    10/31/19       $514,469.21
Arjun, LP         First IC Bank (CD's)                               1879    10/31/19       $100,000.00
Arjun, LP         First IC Bank (CD's)                               1882    10/31/19       $100,000.00

                                                                    Arjun, LP Subtotal    $25,033,375.87

Statim Holdings   Delta Community                  0880083132-Bus Savings    10/31/19              $5.00
Statim Holdings   Delta Community                     0880083132-5760731     10/31/19          $1,131.42
Statim Holdings   Delta Community                     0880083132-1789412     10/31/19            $100.00
Statim Holdings   Delta Community                 0880083132-Bus Mon Mkt     10/31/19      $1,022,017.96

Statim Holdings   Arjun Capital Acct                              186590     10/31/19      $1,592,458.96

Statim Holdings   Nija Meyer                        Loan to Nija Meyer       10/31/19       $180,000.00

                                                              Statim Holdings Subtotal     $2,795,713.34

                                                                  Arjun & Statim Total    $27,829,089.21
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                                         SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                       Reporting Period 10/01/2019 to 10/31/2019

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date      Reference      Payee/Payor                       Purpose                    Amount

Treasury Direct, Arjun, LP, Account Number H-448-199-00:
 09/30/19                                                         Beginning Balance $12,110,615.35
 10/15/19 Withdrawal TreasuryDirect         Matured Treasury - Principal            -$2,252,000.00
Oct 2019 Statement Arjun, LP                Net Change in Market Value - Oct 2019       -$8,246.52
 10/31/19                                                            Ending Balance $9,850,368.83

Treasury Direct, Arjun, LP, Account Number H-448-199-00:
 09/30/19                                                        Beginning Balance       $17,133.74
Oct 2019 Statement Arjun, LP                Net Change Accr Interest - Oct 2019          $34,649.76
 10/31/19                                                            Ending Balance      $51,783.50

Arjun, LP - Investor Loans, Multiple Account Numbers:
 09/30/19                                                           Beginning Balance $9,298,058.65
Oct 2019 Loan Stmt Arjun, LP                   Loan payments by investors (see banks)      -$780.75
Oct 2019 Loan Stmt Arjun, LP                                        Loans to Investors        $0.00
Oct 2019 Loan Stmt Arjun, LP                  Accrued Interest Income (not collections)  $12,077.88
 10/31/19 Loan Stmt                                                    Ending Balance $9,309,355.78

BMO Harris, Arjun, LP, Account Number 4824436117:
 09/30/19                                                         Beginning Balance         -$84.65
 10/31/19   Fee     BMO Harris             Bank Fee                                          $84.65
 10/31/19                                                              Ending Balance         $0.00

Citizens Trust, Arjun, LP, Account Number 470078581:
 09/30/19                                                          Beginning Balance $1,580,667.25
 10/07/19 Deposit     RMG of VA Ave, Inc.    Interest payment, account #186605            $780.75
 10/15/19             Interactive Brokers    Matured Treasury - Interest                $11,260.00
 10/15/19             Interactive Brokers    Matured Treasury - Principal            $2,252,000.00

 10/31/19                                                              Ending Balance $3,844,708.00

First IC Bank, Arjun, LP, Account Number: 0981:
 09/30/19                                                      Beginning Balance  $513,144.76
 10/28/19 Interest    First IC Bank          Interest                                 $227.01
 10/28/19 Interest    First IC Bank          Interest                                 $234.99
 10/31/19 Interest    First IC Bank          Interest                                 $862.45
 10/31/19                                                         Ending Balance   $514,469.21
Delta Community, Statim Holdings, Account Number: 0880083132-Business Money Market:
 09/30/19                                                      Beginning Balance $1,021,628.36
 10/31/19 Interest    Delta Community        Interest                                 $389.60
 10/31/19                                                         Ending Balance $1,022,017.96
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                                         SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                       Reporting Period 10/01/2019 to 10/31/2019

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date    Reference        Payee/Payor                       Purpose                   Amount

Delta Community, Statim Holdings, Account Number: 0880083132-5760731:
 09/30/19                                                      Beginning Balance         $1,131.42
Oct 2019                                                              No Change              $0.00
 10/31/19                                                        Ending Balance          $1,131.42

Delta Community, Statim Holdings, Account Number: 0880083132 (Business Savings):
 09/30/19                                                      Beginning Balance            $5.00
Oct 2019                                                               No Change            $0.00
 10/31/19                                                         Ending Balance            $5.00

Delta Community, Statim Holdings, Account Number: 0880083132 (Value Checking):
 09/30/19                                                      Beginning Balance          $100.00
Oct 2019                                                              No Change             $0.00
 10/31/19                                                         Ending Balance          $100.00

Arjun, LP, Statim Holdings Capital Account, Account Number: 186590:
 09/30/19                                                          Beginning Balance $1,606,078.89
 10/31/19 Allocation Arjun, LP                Performance Allocation                    -12,765.65
 10/31/19 Net Income Arjun, LP                Allocation of Monthly Net Income            -$854.28
 10/31/19                                                             Ending Balance $1,592,458.96
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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                  Reporting Period 11/01/2019 to 11/30/2019
(Balances Subject to Audit)

FUND ACCOUNTING                                                                                               1/2/2020
                                                                                  Detail       Subtotal      Grand Total
Line 1             Beginning Balance (As of 10/31/2019): (Schedule 1.1)       $27,829,089.21
                   Increases in Fund Balance:
Line 2             Business Income
Line 3             Cash and Securities                                            -$2,735.00
Line 4             Interest/Dividend Income                                        $1,506.04
Line 5             Business Asset Liquidation
Line 6             Personal Asset Liquidation
Line 7             Third-Party Litigation Income
Line 8             Miscellaneous-Other                                           $12,630.13
                   Total Fund Available (Lines 1-8):                                           $11,401.17   $27,840,490.38
                   Decreases in Fund Balance:
Line 9             Disbursements (Loans) to Investors                                 $0.00

Line 10       Disbursements for Receivership Operations
   Line 10a   Disbursements to Receiver or Other Professionals (Sched 10.1)
   Line 10b   Business Asset Expenses
   Line 10c   Personal Asset Expenses
   Line 10d   Investment Expenses                                                 -$8,451.97
   Line 10e   Third-Party Litigation Expenses
                  1. Attorney Fees
                  2. Litigation Expenses
                Total Third-Party Litigation Expenses
     Line 10f Tax Administrator Fees and Bonds
     Line 10g Federal and State Tax Payments
                Total Disbursements for Receivership Operations                                -$8,451.97
Line 11    Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a Distribution Plan Development Expenses:
              1. Fees:
                   Fund Administrator
                   Consultants
                   Legal Advisors
                  Tax Advisors
              2. Administrative Expenses
              3. Miscellaneous
             Total Plan Development Expenses
   Line 11b Distribution Plan Implementation Expenses:
              1. Fees:
                  Fund Administrator
             2. Administrative Expenses
             3. Investor Identification:
                  Notice/Publishing Approved Plan
                  Claims Processing
             4. Fund Administrator Bond
             5. Miscellaneous
            Total Plan Implementation Expenses
            Total Disbursement for Distribution Expenses Paid by the Fund
Line 12    Disbursements to Court/Other:
   Line 12a Investment Expenses/Court Registry Investment
           System (CRIS) Fees
   Line 12b Federal Tax Payments
            Total Disbursements to Court/Other:
            Total Funds Disbursed (Line 9-11):                                                                  -$8,451.97
Line 13    Ending Balance (As of 11/30/2019):                                                               $27,832,038.41
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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                  Reporting Period 11/01/2019 to 11/30/2019
(Balances Subject to Audit)


                                                                                  Detail       Subtotal     Grand Total
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a   Cash & Cash Investments                                                                       $6,833,937.63
   Line 14b   Investments                                                                                  $20,740,996.60
   Line 14c   Other Assets or Uncleared Funds                                                                $257,104.18
             Total Ending Balance of Fund - Net Assets                                                     $27,832,038.41

OTHER SUPPLEMENTAL INFORMATION:
                                                                                  Detail       Subtotal     Grand Total
                   Report of Items NOT to be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by Fund:
   Line 15a    Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator
                    Consultants
                    Legal Advisors
               2. Administrative Expenses
               3. Miscellaneous
             Total Plan Development Expenses Not Paid by the Fund
     Line 15b        Plan Implementation Expenses Not Paid by the Fund:
                       1. Fees:
                            Fund Administrator
                            Consultants
                            Legal Advisors
                       2. Administrative Expenses
                       3. Investor Indentification:
                           Notice/Publishing Approved Plan
                           Claims Processing
                      4. Fund Administrator Bond
                      5. Miscellaneous
                     Total Plan Implementation Expenses Not Paid by the Fund
    Line 15c         Tax Administrator Fees & Bonds Not Paid by the Fund
                     Total Disbursements for Plan Administration Not Paid by the Fund
Line 16     Disbursements to Court/Other Not Paid by the Fund:
   Line 16a    Investment Expenses/CRIS Fees
   Line 16b    Federal Tax Payments
             Total Disbursements to Court/Other Not Paid by the Fund:
Line 17            DC & State Tax Payments
Line 18     No. of Claims:
   Line 18a   # of Claims Received This Reporting Period                                                         0
   Line 18b   # of Claims Received Since Inception of (Receivership)                                             0
Line 19     No. of Claimants/Investors:
   Line 19a   # of Claimants/Investors Paid This Reporting Period                                                0
   Line 19b   # of Claimants/Investors Paid Since Inception (Receivership)                                       0
                                                                             Receiver:
                                                                             By: _____________________________
                                                                                    (signature)
                                                                                 ____________________________
                                                                                   (printed name)

                                                                             Date: ___________________________

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                                            SCHEDULE 1.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                       Reporting Period 11/01/2019 to 11/30/2019

                           DETAIL OF LINE 1, BEGINNING BALANCE

      Entity           Bank /Brokerage Name            Account Number        As of Date     Balance

Arjun, LP         TreasuryDirect-Treasuries          Arjun #H-448-199-007    10/31/19      9,850,368.83
Arjun, LP         Treasury Direct-Accr Interest      Arjun #H-448-199-007    10/31/19         51,783.50

Arjun, LP         Loans to Investors                              multiple   10/31/19      9,309,355.78

Arjun, LP          BMO Harris (CD's)                          6900598944     10/31/19      1,250,000.00
Arjun, LP          BMO Harris                                 4824436117     10/31/19               -
Arjun, LP          BMO Harris [1]                             4824436117     10/31/19         12,690.55

Arjun, LP         Citizens Trust                               470078581     10/31/19      3,844,708.00

Arjun, LP         First IC Bank                                      0981    10/31/19        514,469.21
Arjun, LP         First IC Bank (CD's)                               1879    10/31/19        100,000.00
Arjun, LP         First IC Bank (CD's)                               1882    10/31/19        100,000.00

                                                                    Arjun, LP Subtotal    $25,033,375.87

Statim Holdings   Delta Community                  0880083132-Bus Savings    10/31/19              5.00
Statim Holdings   Delta Community                     0880083132-5760731     10/31/19          1,131.42
Statim Holdings   Delta Community                     0880083132-1789412     10/31/19            100.00
Statim Holdings   Delta Community                 0880083132-Bus Mon Mkt     10/31/19      1,022,017.96

Statim Holdings   Arjun Capital Acct                              186590     10/31/19      1,592,458.96

Statim Holdings   Nija Meyer                        Loan to Nija Meyer       10/31/19        180,000.00

                                                              Statim Holdings Subtotal     $2,795,713.34

                                                                  Arjun & Statim Total    $27,829,089.21
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                                                     SCHEDULE 3.1

               STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                               Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                      Reporting Period 11/01/2019 to 11/30/2019

                                         DETAIL OF LINE 3, CASH & SECURITIES

 Date         Bank Name       Account Name Account No.    Ref.       Payor/Payee               Purpose                Amount

Nov 2019 TreasuryDirect      Arjun, LP   H-448-199-007   Market   Arjun, LP        Change in Market Value - Nov '19    -$2,735.00
                                                                                         Arjun, LP Subtotal            -$2,735.00
                                                                                                                            $0.00
                                                                                       Statim Holding Subtotal              $0.00

                                                                                        Arjun & Statim Total           -$2,735.00
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                                                     SCHEDULE 4.1

            STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                            Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 11/01/2019 to 11/30/2019

                                  DETAIL OF LINE 4, INTEREST/DIVIDEND INCOME

Date          Bank Name        Account Name Account No.    Ref.      Payor/Payee              Purpose            Amount

11/26/19 First IC Bank        Arjun, LP            0981 Deposit Arjun, LP          Interest                        $234.62
11/26/19 First IC Bank        Arjun, LP            0981 Deposit Arjun, LP          Interest                        $242.86
11/29/19 First IC Bank        Arjun, LP            0981 Deposit Arjun, LP          Interest                        $711.39

                                                                                         Arjun, LP Subtotal      $1,188.87

11/30/19 Delta Community      Statim Holdings 0880083132 Deposit Statim Holdings   Interest                        $317.17
                                                                                      Statim Holdings Subtotal

                                                                                        Arjun & Statim Total     $1,506.04
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                                                   SCHEDULE 8.1

             STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                             Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                    Reporting Period 11/01/2019 to 11/30/2019

                                     DETAIL OF LINE 8, MISCELLANEOUS-OTHER

Date          Bank Name       Account Name Account No.   Ref.       Payor/Payee               Purpose          Amount

11/30/19 TreasuryDirect      Arjun, LP   H-448-199-007   Interest Arjun, LP       Change in Accrued Interest   $12,630.13

                                                                                         Arjun, LP Subtotal    $12,630.13

                                                                                           Statim Subtotal          $0.00

                                                                                        Arjun & Statim Total   $12,630.13
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                                             SCHEDULE 9.1

       STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                       Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                              Reporting Period 11/01/2019 to 11/30/2019

                      DETAIL OF LINE 9, DISBURSEMENTS (LOANS) TO INVESTORS

Date    Bank Name       Account Name Account No.   Ref.     Payor/Payee         Purpose           Amount


                                                                          Statim Holdings Total      $0.00
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                                            SCHEDULE 10b.1

       STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                       Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                              Reporting Period 11/01/2019 to 11/30/2019

                  DETAIL OF LINE 10b, BUSINESS ASSET AND OPERATING EXPENSES

Date      Bank Name       Account Name Account No.   Ref.    Payor/Payee      Purpose        Amount




                                                                           Arjun, LP Total      $0.00
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                                                        SCHEDULE 10d.1

            STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                            Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 11/01/2019 to 11/30/2019

                                     DETAIL OF LINE 10d, INVESTMENT EXPENSES

 Date         Bank Name        Account Name Account No.       Ref.       Payor/Payee              Purpose               Amount

Nov 2019 Arjun, LP             Arjun, LP      Multiple     Interest   Arjun, LP        Accrual-Investor loan interest   $12,100.88

Nov 2019 Arjun, LP             Arjun, LP      Multiple     Loan PmtsArjun, LP          Investor Loan Payments                $0.00
                                                                                             Arjun, LP Subtotal         $12,100.88


Nov 2019 Statim Holdings       Statim Holdings 186590       Monthly Arjun, LP          Chg Statim Capital in Arjun, LP -$20,552.85
                                                                                         Statim Holdings Subtotal      -$20,552.85

                                                                                            Arjun & Statim Total        -$8,451.97
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                                           SCHEDULE 13.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                       Reporting Period 11/01/2019 to 11/30/2019

                               DETAIL OF LINE 13, ENDING BALANCE

      Entity           Bank /Brokerage Name            Account Number        As of Date     Balance

Arjun, LP         TreasuryDirect-Treasuries          Arjun #H-448-199-007    11/30/19      $9,847,633.83
Arjun, LP         Treasury Direct-Accr Interest      Arjun #H-448-199-007    11/30/19         $64,413.63

Arjun, LP         Loans to Investors                              multiple   11/30/19      $9,321,456.66

Arjun, LP          BMO Harris (CD)                            6900598944     11/30/19      $1,250,000.00
Arjun, LP          BMO Harris                                 4824436117     11/30/19              $0.00
Arjun, LP          BMO Harris [1]                             4824436117     11/30/19         $12,690.55

Arjun, LP         Citizens Trust                               470078581     11/30/19      $3,844,708.00

Arjun, LP         First IC Bank                                      0981    11/30/19       $515,658.08
Arjun, LP         First IC Bank (CD's)                               1879    11/30/19       $100,000.00
Arjun, LP         First IC Bank (CD's)                               1882    11/30/19       $100,000.00

                                                                    Arjun, LP Subtotal    $25,056,560.75

Statim Holdings   Delta Community                  0880083132-Bus Savings    11/30/19              $5.00
Statim Holdings   Delta Community                     0880083132-5760731     11/30/19          $1,131.42
Statim Holdings   Delta Community                     0880083132-1789412     11/30/19            $100.00
Statim Holdings   Delta Community                 0880083132-Bus Mon Mkt     11/30/19      $1,022,335.13

Statim Holdings   Arjun Capital Acct                              186590     11/30/19      $1,571,906.11

Statim Holdings   Nija Meyer                        Loan to Nija Meyer       11/30/19       $180,000.00

                                                              Statim Holdings Subtotal     $2,775,477.66

                                                                  Arjun & Statim Total    $27,832,038.41
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                                         SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                       Reporting Period 11/01/2019 to 11/30/2019

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date    Reference        Payee/Payor                       Purpose                    Amount

Treasury Direct, Arjun, LP, Account Number H-448-199-00:
 10/31/19                                                        Beginning Balance $9,850,368.83
Nov 2019 Statement Arjun, LP                Net Change in Market Value - Nov 2019     -$2,735.00
 11/30/19                                                          Ending Balance $9,847,633.83

Treasury Direct, Arjun, LP, Account Number H-448-199-00:
 10/31/19                                                        Beginning Balance       $51,783.50
Nov 2019 Statement Arjun, LP                Net Change Accr Interest - Nov 2019          $12,630.13
 11/30/19                                                            Ending Balance      $64,413.63

Arjun, LP - Investor Loans, Multiple Account Numbers:
 10/31/19                                                           Beginning Balance $9,309,355.78
Nov 2019 Loan Stmt Arjun, LP                   Loan payments by investors (see banks)         $0.00
Nov 2019 Loan Stmt Arjun, LP                                        Loans to Investors        $0.00
Nov 2019 Loan Stmt Arjun, LP                  Accrued Interest Income (not collections)  $12,100.88
 11/30/19 Loan Stmt                                                    Ending Balance $9,321,456.66

BMO Harris, Arjun, LP, Account Number 4824436117:
 10/31/19                                                         Beginning Balance           $0.00
 11/30/19   Fee     BMO Harris             Bank Fee                                           $0.00
 11/30/19                                                              Ending Balance         $0.00

Citizens Trust, Arjun, LP, Account Number 470078581:
 10/31/19                                                         Beginning Balance $3,844,708.00
 11/30/19             No Activity
 11/30/19                                                              Ending Balance $3,844,708.00

First IC Bank, Arjun, LP, Account Number: 0981:                   Beginning Balance
                                                                                  $514,469.21
 11/26/19 Interest    First IC Bank          Interest                                 $234.62
 11/26/19 Interest    First IC Bank          Interest                                 $242.86
 11/29/19 Interest    First IC Bank          Interest                                 $711.39
                                                                  Ending Balance   $515,658.08
Delta Community, Statim Holdings, Account Number: 0880083132-Business Money Market:
 10/31/19                                                      Beginning Balance $1,022,017.96
 11/30/19 Interest  Delta Community         Interest                                  $317.17
 11/30/19                                                         Ending Balance $1,022,335.13

Delta Community, Statim Holdings, Account Number: 0880083132-5760731:
 10/31/19                                                      Beginning Balance          $1,131.42
 11/30/19                                                             No Change               $0.00
 11/30/19                                                        Ending Balance           $1,131.42
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                                         SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                       Reporting Period 11/01/2019 to 11/30/2019

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date    Reference        Payee/Payor                       Purpose                   Amount

Delta Community, Statim Holdings, Account Number: 0880083132 (Business Savings):
 10/31/19                                                      Beginning Balance            $5.00
 11/30/19                                                              No Change            $0.00
 11/30/19                                                         Ending Balance            $5.00

Delta Community, Statim Holdings, Account Number: 0880083132 (Value Checking):
 10/31/19                                                      Beginning Balance          $100.00
Nov 2019                                                              No Change             $0.00
 11/30/19                                                         Ending Balance          $100.00

Arjun, LP, Statim Holdings Capital Account, Account Number: 186590:
 10/31/19                                                          Beginning Balance $1,592,458.96
Nov 2019 Allocation Arjun, LP                 Performance Allocation                    -19,262.56
Nov 2019 Net Income Arjun, LP                 Allocation of Monthly Net Income          -$1,290.29
 11/30/19                                                             Ending Balance $1,571,906.11
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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                  Reporting Period 12/01/2019 to 12/31/2019
(Balances Subject to Audit)

FUND ACCOUNTING                                                                                               1/24/2020
                                                                                  Detail       Subtotal      Grand Total
Line 1            Beginning Balance (As of 11/30/2019): (Schedule 1.1)        $27,832,038.41
                  Increases in Fund Balance:
Line 2            Business Income
Line 3            Cash and Securities                                            $27,851.51
Line 4            Interest/Dividend Income                                       $78,682.54
Line 5            Business Asset Liquidation
Line 6            Personal Asset Liquidation
Line 7            Third-Party Litigation Income
Line 8            Miscellaneous-Other                                            -$64,247.62
                  Total Fund Available (Lines 1-8):                                            $42,286.43   $27,874,324.84
                  Decreases in Fund Balance:
Line 9            Disbursements (Loans) to Investors                             -$16,945.00

Line 10       Disbursements for Receivership Operations
   Line 10a   Disbursements to Receiver or Other Professionals (Sched 10.1)
   Line 10b   Business Asset Expenses
   Line 10c   Personal Asset Expenses
   Line 10d   Investment Expenses                                                $25,739.23
   Line 10e   Third-Party Litigation Expenses
                  1. Attorney Fees
                  2. Litigation Expenses
                Total Third-Party Litigation Expenses
     Line 10f Tax Administrator Fees and Bonds
     Line 10g Federal and State Tax Payments
                Total Disbursements for Receivership Operations                                 $8,794.23
Line 11    Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a Distribution Plan Development Expenses:
              1. Fees:
                   Fund Administrator
                   Consultants
                   Legal Advisors
                  Tax Advisors
              2. Administrative Expenses
              3. Miscellaneous
             Total Plan Development Expenses
   Line 11b Distribution Plan Implementation Expenses:
              1. Fees:
                  Fund Administrator
             2. Administrative Expenses
             3. Investor Identification:
                  Notice/Publishing Approved Plan
                  Claims Processing
             4. Fund Administrator Bond
             5. Miscellaneous
            Total Plan Implementation Expenses
            Total Disbursement for Distribution Expenses Paid by the Fund
Line 12    Disbursements to Court/Other:
   Line 12a Investment Expenses/Court Registry Investment
           System (CRIS) Fees
   Line 12b Federal Tax Payments
            Total Disbursements to Court/Other:
            Total Funds Disbursed (Line 9-11):                                                                   $8,794.23
Line 13    Ending Balance (As of 12/31/2019):                                                               $27,883,119.07
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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                  Reporting Period 12/01/2019 to 12/31/2019
(Balances Subject to Audit)


                                                                                  Detail       Subtotal     Grand Total
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a   Cash & Cash Investments                                                                       $9,132,675.17
   Line 14b   Investments                                                                                  $18,557,587.34
   Line 14c   Other Assets or Uncleared Funds                                                                $192,856.56
             Total Ending Balance of Fund - Net Assets                                                     $27,883,119.07

OTHER SUPPLEMENTAL INFORMATION:
                                                                                  Detail       Subtotal     Grand Total
                  Report of Items NOT to be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by Fund:
   Line 15a    Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator
                    Consultants
                    Legal Advisors
               2. Administrative Expenses
               3. Miscellaneous
             Total Plan Development Expenses Not Paid by the Fund
    Line 15b        Plan Implementation Expenses Not Paid by the Fund:
                      1. Fees:
                           Fund Administrator
                           Consultants
                           Legal Advisors
                      2. Administrative Expenses
                      3. Investor Indentification:
                          Notice/Publishing Approved Plan
                          Claims Processing
                     4. Fund Administrator Bond
                     5. Miscellaneous
                    Total Plan Implementation Expenses Not Paid by the Fund
    Line 15c        Tax Administrator Fees & Bonds Not Paid by the Fund
                    Total Disbursements for Plan Administration Not Paid by the Fund
Line 16     Disbursements to Court/Other Not Paid by the Fund:
   Line 16a    Investment Expenses/CRIS Fees
   Line 16b    Federal Tax Payments
             Total Disbursements to Court/Other Not Paid by the Fund:
Line 17           DC & State Tax Payments
Line 18     No. of Claims:
   Line 18a   # of Claims Received This Reporting Period                                                         3
   Line 18b   # of Claims Received Since Inception of (Receivership)                                             3
Line 19     No. of Claimants/Investors:
   Line 19a   # of Claimants/Investors Paid This Reporting Period                                                0
   Line 19b   # of Claimants/Investors Paid Since Inception (Receivership)                                       0
                                                                             Receiver:
                                                                             By: _____________________________
                                                                                    (signature)
                                                                                 ____________________________
                                                                                   (printed name)

                                                                             Date: ___________________________

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                                            SCHEDULE 1.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                       Reporting Period 12/01/2019 to 12/31/2019

                           DETAIL OF LINE 1, BEGINNING BALANCE

      Entity           Bank /Brokerage Name            Account Number        As of Date     Balance

Arjun, LP         TreasuryDirect-Treasuries          Arjun #H-448-199-007    11/30/19      $9,847,633.83
Arjun, LP         Treasury Direct-Accr Interest      Arjun #H-448-199-007    11/30/19         $64,413.63

Arjun, LP         Loans to Investors                              multiple   11/30/19      $9,321,456.66

Arjun, LP          BMO Harris (CD)                            6900598944     11/30/19      $1,250,000.00
Arjun, LP          BMO Harris                                 4824436117     11/30/19              $0.00
Arjun, LP          BMO Harris [1]                             4824436117     11/30/19         $12,690.55

Arjun, LP         Citizens Trust                               470078581     11/30/19      $3,844,708.00

Arjun, LP         First IC Bank                                      0981    11/30/19       $515,658.08
Arjun, LP         First IC Bank (CD's)                               1879    11/30/19       $100,000.00
Arjun, LP         First IC Bank (CD's)                               1882    11/30/19       $100,000.00

                                                                    Arjun, LP Subtotal    $25,056,560.75

Statim Holdings   Delta Community                  0880083132-Bus Savings    11/30/19              $5.00
Statim Holdings   Delta Community                     0880083132-5760731     11/30/19          $1,131.42
Statim Holdings   Delta Community                     0880083132-1789412     11/30/19            $100.00
Statim Holdings   Delta Community                 0880083132-Bus Mon Mkt     11/30/19      $1,022,335.13

Statim Holdings   Arjun Capital Acct                              186590     11/30/19      $1,571,906.11

Statim Holdings   Nija Meyer                        Loan to Nija Meyer       11/30/19       $180,000.00

                                                              Statim Holdings Subtotal     $2,775,477.66

                                                                  Arjun & Statim Total    $27,832,038.41
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                                                       SCHEDULE 3.1

              STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                              Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                     Reporting Period 12/01/2019 to 12/31/2019

                                        DETAIL OF LINE 3, CASH & SECURITIES

Date          Bank Name     Account Name Account No.      Ref.        Payor/Payee               Purpose                 Amount

Dec 2019 TreasuryDirect       Arjun, LP #H-448-199-007   Market    Arjun, LP        Change in Market Value - Dec '19      $27,851.51
12/31/19 Citizens Trust      Arjun, LP      470078581    Deposit   TreasuryDirect   Deposit of Matured Treasury        $2,237,000.00
                                                                                           Arjun, LP Subtotal             $27,851.51
                                                                                                                               $0.00
                                                                                        Statim Holding Subtotal                $0.00

                                                                                         Arjun & Statim Total            $27,851.51
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                                                      SCHEDULE 4.1

              STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                              Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                     Reporting Period 12/01/2019 to 12/31/2019

                                   DETAIL OF LINE 4, INTEREST/DIVIDEND INCOME

Date            Bank Name       Account Name Account No.     Ref.        Payor/Payee              Purpose            Amount

12/26/19   First IC Bank       Arjun, LP             0981   Deposit   Arjun, LP        Interest                         $227.01
12/26/19   First IC Bank       Arjun, LP             0981   Deposit   Arjun, LP        Interest                         $234.99
12/31/19   First IC Bank       Arjun, LP             0981   Deposit   Arjun, LP        Interest                         $786.89
12/31/19   TreasuryDirect      Arjun, LP   #H-448-199-007   Deposit   Arjun, LP        Treasury Interest             $12,583.13
12/31/19   TreasuryDirect      Arjun, LP   #H-448-199-007   Deposit   Arjun, LP        Treasury Interest             $30,379.38
12/31/19   TreasuryDirect      Arjun, LP   #H-448-199-007   Deposit   Arjun, LP        Treasury Interest             $34,081.25

                                                                                             Arjun, LP Subtotal      $78,292.65

12/31/19 Delta Community       Statim Holdings 0880083132 Deposit Statim Holdings      Interest                        $389.89
                                                                                          Statim Holdings Subtotal

                                                                                            Arjun & Statim Total     $78,682.54
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                                                     SCHEDULE 8.1

            STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                            Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 12/01/2019 to 12/31/2019

                                   DETAIL OF LINE 8, MISCELLANEOUS-OTHER

Date          Bank Name       Account Name Account No.     Ref.      Payor/Payee               Purpose           Amount

12/31/19 TreasuryDirect           Arjun, LP #H-448-199-007Interest Arjun, LP       Change in Accrued Interest   -$64,247.62

                                                                                          Arjun, LP Subtotal    -$64,247.62

                                                                                            Statim Subtotal          $0.00

                                                                                         Arjun & Statim Total   -$64,247.62
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                                              SCHEDULE 9.1

       STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                       Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                              Reporting Period 12/01/2019 to 12/31/2019

                     DETAIL OF LINE 9, DISBURSEMENTS (LOANS) TO INVESTORS

Date    Bank Name   Account NameAccount No.    Ref.     Payor/Payee         Purpose     Amount
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                                                  SCHEDULE 10b.1

          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                          Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                 Reporting Period 12/01/2019 to 12/31/2019

                          DETAIL OF LINE 10b, BUSINESS ASSET AND OPERATING EXPENSES

Date           Bank Name        Account Name Account No.   Ref.       Payor/Payee            Purpose            Amount

12/11/19 Citizens Trust        Arjun, LP      470078581 Ck 995014 Rubio CPA           Accounting Fees           -$5,525.00
12/23/19 Citizens Trust        Arjun, LP      470078581 Ck 995015 IRA Services Tr Co. 2019 RMD-James Recknagel IRA
                                                                                                                -$3,920.00
12/30/19 Citizens Trust        Arjun, LP      470078581 Ck 995016 Panoptic Fund AdminFund Administration Fees   -$7,500.00
                                                                                           Arjun, LP Total    -$16,945.00
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                                                        SCHEDULE 10d.1

            STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                            Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 12/01/2019 to 12/31/2019

                                     DETAIL OF LINE 10d, INVESTMENT EXPENSES

 Date         Bank Name        Account Name Account No.       Ref.       Payor/Payee              Purpose               Amount

Nov 2019 Arjun, LP             Arjun, LP      Multiple     Interest   Arjun, LP        Accrual-Investor loan interest   $12,123.94

Nov 2019 Arjun, LP             Arjun, LP      Multiple     Loan PmtsArjun, LP          Investor Loan Payments                $0.00
                                                                                             Arjun, LP Subtotal         $12,123.94


Nov 2019 Statim Holdings       Statim Holdings 186590       Monthly Arjun, LP          Chg Statim Capital in Arjun, LP $13,615.29
                                                                                         Statim Holdings Subtotal      $13,615.29

                                                                                            Arjun & Statim Total        $25,739.23
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                                           SCHEDULE 13.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                       Reporting Period 12/01/2019 to 12/31/2019

                               DETAIL OF LINE 13, ENDING BALANCE

      Entity           Bank /Brokerage Name            Account Number        As of Date     Balance

Arjun, LP         TreasuryDirect-Treasuries          Arjun #H-448-199-007    12/31/19      $7,638,485.34
Arjun, LP         Treasury Direct-Accr Interest      Arjun #H-448-199-007    12/31/19            $166.01

Arjun, LP         Loans to Investors                              multiple   12/31/19      $9,333,580.60

Arjun, LP          BMO Harris (CD)                            6900598944     12/31/19      $1,250,000.00
Arjun, LP          BMO Harris                                 4824436117     12/31/19              $0.00
Arjun, LP          BMO Harris [1]                             4824436117     12/31/19         $12,690.55

Arjun, LP         Citizens Trust                               470078581     12/31/19      $6,141,806.76

Arjun, LP         First IC Bank                                      0981    12/31/19       $516,906.97
Arjun, LP         First IC Bank (CD's)                               1879    12/31/19       $100,000.00
Arjun, LP         First IC Bank (CD's)                               1882    12/31/19       $100,000.00

                                                                    Arjun, LP Subtotal    $25,093,636.23

Statim Holdings   Delta Community                  0880083132-Bus Savings    12/31/19              $5.00
Statim Holdings   Delta Community                     0880083132-5760731     12/31/19          $1,131.42
Statim Holdings   Delta Community                     0880083132-1789412     12/31/19            $100.00
Statim Holdings   Delta Community                 0880083132-Bus Mon Mkt     12/31/19      $1,022,725.02

Statim Holdings   Arjun Capital Acct                              186590     12/31/19      $1,585,521.40

Statim Holdings   Nija Meyer                        Loan to Nija Meyer       12/31/19       $180,000.00

                                                              Statim Holdings Subtotal     $2,789,482.84

                                                                  Arjun & Statim Total    $27,883,119.07
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                                         SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                       Reporting Period 12/01/2019 to 12/31/2019

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date    Reference        Payee/Payor                       Purpose                    Amount

Treasury Direct, Arjun, LP, Account Number H-448-199-00:
 11/30/19                                                         Beginning Balance $9,847,633.83
 12/31/19 Withdrawal TreasuryDirect         Matured Treasury - Principal            -$2,237,000.00
 12/31/19 Statement Arjun, LP               Net Change in Market Value - Dec 2019       $27,851.51
 12/31/19                                                            Ending Balance $7,638,485.34

Treasury Direct, Arjun, LP, Account Number H-448-199-00:
 11/30/19                                                        Beginning Balance       $64,413.63
Dec 2019 Statement Arjun, LP                Net Change Accr Interest - Dec 2019         -$64,247.62
 12/31/19                                                            Ending Balance         $166.01

Arjun, LP - Investor Loans, Multiple Account Numbers:
 11/30/19                                                           Beginning Balance $9,321,456.66
Dec 2019 Loan Stmt Arjun, LP                   Loan payments by investors (see banks)         $0.00
Dec 2019 Loan Stmt Arjun, LP                                        Loans to Investors        $0.00
Dec 2019 Loan Stmt Arjun, LP                  Accrued Interest Income (not collections)  $12,123.94
 12/31/19 Loan Stmt                                                    Ending Balance $9,333,580.60

BMO Harris, Arjun, LP, Account Number 4824436117:
 11/30/19                                                         Beginning Balance          $0.00
 12/31/19   Fee     BMO Harris             Bank Fee                                          $0.00
 12/31/19                                                              Ending Balance        $0.00

Citizens Trust, Arjun, LP, Account Number 470078581:
 11/30/19                                                       Beginning Balance $3,844,708.00
 12/11/19 Ck 995014 Rubio CPA                                     Accounting Fees    -$5,525.00
 12/23/19 Ck 995015 IRA Services Trust Co.       2019 RMD re James Recknagel IRA     -$3,920.00
 12/30/19 Ck 995016 Panoptic Fund Admin                  Fund Administration Fees    -$7,500.00
 12/31/19 Deposit     TreasuryDirect                             Treasury Interest   $12,583.13
 12/31/19 Deposit     TreasuryDirect                             Treasury Interest   $30,379.38
 12/31/19 Deposit     TreasuryDirect                             Treasury Interest   $34,081.25
 12/31/19 Deposit     TreasuryDirect                             Matured Treasury $2,237,000.00
 12/31/19                                                          Ending Balance $6,141,806.76

First IC Bank, Arjun, LP, Account Number: 0981:                Beginning Balance  $515,658.08
 12/26/19 Interest    First IC Bank          Interest                                 $227.01
 12/26/19 Interest    First IC Bank          Interest                                 $234.99
 12/31/19 Interest    First IC Bank          Interest                                 $786.89
 12/31/19                                                         Ending Balance   $516,906.97
Delta Community, Statim Holdings, Account Number: 0880083132-Business Money Market:
 11/30/19                                                      Beginning Balance $1,022,335.13
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                                           SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                       Reporting Period 12/01/2019 to 12/31/2019

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date     Reference         Payee/Payor                     Purpose                    Amount

 12/31/19 Interest     Delta Community         Interest                                    $389.89
 12/31/19                                                              Ending Balance $1,022,725.02

Delta Community, Statim Holdings, Account Number: 0880083132-5760731:
 11/30/19                                                      Beginning Balance          $1,131.42
 12/31/19                                                              No Change              $0.00
 12/31/19                                                         Ending Balance          $1,131.42
Delta Community, Statim Holdings, Account Number: 0880083132 (Business Savings):
 11/30/19                                                      Beginning Balance              $5.00
 12/31/19                                                              No Change              $0.00
 12/31/19                                                         Ending Balance              $5.00

Delta Community, Statim Holdings, Account Number: 0880083132 (Value Checking):
 11/30/19                                                      Beginning Balance           $100.00
Dec 2019                                                              No Change              $0.00
 12/31/19                                                         Ending Balance           $100.00

Arjun, LP, Statim Holdings Capital Account, Account Number: 186590:
 11/30/19                                                          Beginning Balance $1,571,906.11
Dec 2019 Allocation Arjun, LP                 Performance Allocation                     11,974.37
Dec 2019 Net Income Arjun, LP                 Allocation of Monthly Net Income           $1,640.92
 12/31/19                                                             Ending Balance $1,585,521.40
